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Prob 12C                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                    PETITION FOR WARRANT OR SUMMONS FOR
                         OFFENDER UNDER SUPERVISION


Offender Name:                  Jose CURIEL

Docket Number:                  2:98CR00353-02

Offender Address:               Sacramento, California

Judicial Officer:               Honorable Garland E. Burrell, Jr.
                                United States District Judge
                                Sacramento, California

Original Sentence Date:         06/25/1999

Original Offense:               21 USC 841(a)(1) - Possession With Intent To
                                Distribute Methamphetamine
                                (CLASS A FELONY)

Original Sentence:              44 months custody Bureau of Prisons; 60 months
                                Supervised Release; $100 special assessment

Special Conditions:             Search; Financial disclosure; Substance abuse
                                counseling, to include testing, and pay associated
                                costs; Pager/cellular telephone restrictions

Type of Supervision:            Supervised Release

Supervision Commenced:          10/08/2001

Assistant U.S. Attorney:        Kenneth J. Melikian      Telephone: (916) 554-2700

Defense Attorney:               Rachelle Barbour        Telephone: (916) 498-5700
                                Assistant Federal Defender




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Other Court Action:

11/18/2002:                  Prob 12C Petition filed: Illicit Drug Use (Cocaine);
                             Failure To Participate In Drug Testing

12/20/2002:                  Disposition: Releasee admitted Charges 1 and 2;
                             Continued on Supervised Release with additional
                             special conditions: Alcohol abstinence; 120 days home
                             detention with electronic monitoring.

08/19/2003:                  Prob 12C Petition filed: Illicit Drug Use (Cocaine)

10/24/2003:                  Disposition: Releasee admitted Charge 1 of the
                             Petition; Continued on Supervised Release with
                             additional special conditions: Participate and reside in
                             a residential community corrections center (CCC) for a
                             period of three months.

02/13/2004:                  Prob 12C Petition filed: Illicit Drug Use (Cocaine)

02/27/2004:                  Disposition: Court approved modification to extend the
                             releasee's CCC commitment 60 additional days.




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RE:    Jose CURIEL
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                               PETITIONING THE COURT


(X)    OTHER: Place this on the Court's calendar on September 30, 2005, at 9 a.m., and
       order the releasee to appear before the Court to show cause why supervision
       heretofore granted should not be revoked. The probation officer is directed to notify
       the releasee and counsel of said hearing.

The probation officer alleges the releasee has violated the following condition(s) of
supervision:


Charge Number        Nature of Violation


Charge 1:            USE OF ILLICIT DRUGS (COCAINE)

On July 14, 2005, the releasee submitted a urine sample which tested positive for cocaine.
This conduct is in violation of the Court's order requiring him to refrain from any unlawful
use of a controlled substance.


Justification:      This is the fourth time the Court has been notified of the releasee's use
of illegal drugs. He continues to abuse cocaine despite intermediate sanctions (home
detention and community corrections center placement) imposed by the Court. Court
sanctions have not impacted him or been a deterrent in any way. His continued drug use
would suggest a more serious problem requiring either incarceration or inpatient drug
treatment. To his credit, he continues to maintain attendance in college and full-time
employment.




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Bail/Detention:       Because the releasee is not viewed as an imminent danger to the
community, and is not considered a flight risk, it is recommended he be allowed to remain
at liberty pending formal revocation proceedings in this matter.


      I declare under penalty of perjury that the foregoing is true and correct.


EXECUTED ON:        August 23, 2005
                    Roseville, California
                    srs:cd

                                Respectfully submitted,

                                   /s/ Shari R. Simon

                                  SHARI R. SIMON
                           United States Probation Officer
                             Telephone: (916) 786-2861


REVIEWED BY:              /s/ Richard A. Ertola
                    RICHARD A. ERTOLA
                    Supervising United States Probation Officer




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RE:   Jose CURIEL
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      PETITION FOR WARRANT OR SUMMONS
      FOR OFFENDER UNDER SUPERVISION



THE COURT FINDS PROBABLE CAUSE AND ORDERS:

( )   The issuance of a warrant          ( )    Bail set at $         ( )           No Bail

( )   The issuance of a summons (copy to Defense Counsel).

(X)   Other: Place this on the Court's calendar on September 30, 2005, at 9 a.m., and
      order the releasee to appear before the Court to show cause why supervision
      heretofore granted should not be revoked. The probation officer is directed to notify
      the releasee and counsel of said hearing.


FURTHER PROCEEDINGS REGARDING CUSTODY:


( )   Defendant is ordered detained, to be brought before District Judge forthwith.

( )   Initial appearance and detention hearing before Magistrate Judge.

DATED:    August 25, 2005

                                                /s/ Garland E. Burrell, Jr.
                                                GARLAND E. BURRELL, JR.
                                                United States District Judge


cc:   United States Probation
      Rachelle Barbour, Assistant United States Attorney
      Kenneth J. Melikian, Assistant Federal Defender



Attachment: Presentence Report (Sacramento only)

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                      STATEMENT OF EVIDENCE OF ALLEGED
                           SUPERVISED RELEASE VIOLATIONS



Honorable Garland E. Burrell, Jr.
United States District Judge
Sacramento, California


                                          RE:    Jose CURIEL
                                                 Docket Number: 2:98CR00353-02

Your Honor:


In addition to a copy of the Prob 7A - Conditions of Probation or Supervised Release,
the following evidence and/or testimony will be offered to support the probation officer's
allegation that the above-named releasee is in violation of the conditions of supervision as
stated on the attached Prob 12C - Petition for Warrant or Summons for Offender Under
Supervision.


Charge 1:     USE OF ILLICIT DRUGS (COCAINE)


              A.     Evidence:

                     (1)     Quest Laboratory Report        Number AXXXXXXXX,                         dated
                             07/14/2005


              B.     Witnesses:

                     (1)     None




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RE:   Jose CURIEL
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      STATEMENT OF EVIDENCE


                                Respectfully submitted,

                                     /s/ Shari R. Simon

                                  SHARI R. SIMON
                           United States Probation Officer

DATED:       August 23, 2005
             Roseville, California
             srs:cd


REVIEWED BY:              /s/ Richard A. Ertola
                    RICHARD A. ERTOLA
                    Supervising United States Probation Officer




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                   REVOCATION GUIDE - SUPERVISED RELEASE

Offender Name: Jose CURIEL                             Docket Number: 2:98CR00353-02

Date of original offense: 06/25/1999

Original term of supervised release imposed: 5 years.

Highest grade of violation alleged:               C

Criminal History Category of offender:            I

Chapter 7 range of imprisonment: 3 to 9 months.

Maximum term on revocation - 18 USC 3583(e)(3): (choose one below)

 X     Class A felony - 5 years (or stat max of 5 years if longer).
       Class B felony - 3 years
       Class C and/or D felony - 2 years
       Class E felony and misdemeanors: 1 year

Violation requires mandatory revocation: YES:               NO:    X .

Original offense committed after 09/13/94: Court may sentence up to the statutory
maximum term of supervised release applicable to the original offense of conviction, but
not exceed the maximum for the classes of offenses noted above. Court must consider
but is not bound by Chapter 7 ranges. Upon revocation, the court may re-impose
supervised release; however, the term is limited to the statutory maximum authorized
under Title 18 USC 3583(e)(3) for the original offense of conviction, less the term of
imprisonment imposed upon revocation.

                          MANDATORY REVOCATION ISSUES

Original offense committed after 09/13/94: Title 18 USC 3583 instructs that supervision
shall be revoked upon a finding of: 1) Possession of a controlled substance; 2) Possession
of a firearm; or, 3) Refusal to comply with mandatory drug testing. If the violation involves
the use of a controlled substance, the Court has the discretion to find that "use" constitutes
"possession."

Positive/Failed Drug Tests after 11/02/2002: Title 18 USC 3583(g) amended and
instructs that supervision be revoked for: Testing positive for illegal controlled substances
more than three times over the course of one year.

srs:cd (08/23/2005)

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